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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  CENTRAL DIVISION

DANIEL CAPLE                                                                      PLAINTIFF
Reg #27810-009

v.                               Case No. 4:21-cv-00688-KGB

BUREAU OF PRISONS                                                               DEFENDANT

                                          JUDGMENT

       Pursuant to the Order entered on this date, it is considered ordered and adjudged that

plaintiff Daniel Caple’s complaint is dismissed without prejudice (Dkt. No. 1). The Court denies

the requested relief.

       It is so ordered this 24th day of June, 2022.


                                                       ________________________________
                                                       Kristine G. Baker
                                                       United States District Judge
